                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR16-4047-LTS
 vs.                                                         ORDER
 JUSTIN WILLIAM MILLER,
               Defendant.
                               ____________________

        This matter is before me on a Report and Recommendation (R&R) in which the
Honorable C.J. Williams, United States Magistrate Judge, recommends that I accept
defendant’s plea of guilty. See Doc. No. 53.


                                I.    BACKGROUND
        On April 20, 2016, defendant was charged in Counts 1, 3 and 4 of a four-count
indictment (Doc. No. 3). Count 1 charges defendant with conspiracy to distribute a
controlled substance in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846. Count
3 charges defendant with possession with intent to distribute a controlled substance in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and 18 U.S.C. § 2. Count 4 charges
defendant with possession of a firearm in furtherance of a drug trafficking crime in
violation of 18 U.S.C. § 924(c). On August 15, 2016, defendant appeared before Judge
Williams and changed his pleas to guilty as to Counts 1 and 4. Judge Williams filed the
R&R on the same date. Neither party has filed written objections to the R&R. Any
objections are now deemed waived. See N.D. Ia. L.R. 72.1.




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                          II.    APPLICABLE STANDARDS
       A district judge must review a magistrate judge’s R&R under the following
standards:
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and recommendations
       as provided by rules of court. A judge of the court shall make a de novo
       determination of those portions of the report or specified proposed findings
       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P. 72(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).

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                                 III.    DISCUSSION
      Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has
been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R
without modification and accept defendant’s pleas of guilty in this case to Counts 1 and
4 of the indictment.


      IT IS SO ORDERED.
      DATED this 31st day of August, 2016.




                                          ________________________________
                                          LEONARD T. STRAND
                                          UNITED STATES DISTRICT JUDGE




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